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IN THE UNITED STATES COURT OF APPEALS
FOR THE ELEVENTH CIRCUIT

No. 23-11937

EARL M. JOHNSON JR., J.D.
Plaintiff - Appellant,
v.
LENNY CURRY, in his official capacity, et al,

Defendants - Appellees.

ON APPEAL FROM THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

APPELLANT'S OPENING BRIEF

Respectfully submitted,

By: /s/Ear!I M. Johnson Jr.
Earl M. Johnson, Jr.
Pro Se Appellant
1635 North Liberty Street
No. 3
Jacksonville, FL 32206
(904) 525-2479 Telephone
earlmayberryjohnson@gmail.com

Dated: December 12, 2023
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APPELLANT'S CERTIFICATE OF INTERESTED PERSONS AND
CORPORATE DISCLOSURE STATEMENT

In compliance with Eleventh Circuit Rule 26.1-1—26.1-4, Appellant
identifies all attorneys, persons, associations of persons, firms,
partnerships, or corporations known by Appellant to have an interest in
the outcome of this case:

U.S. Magistrate Judge Patricia Barksdale, deciding judge

Bennett, John, counsel for the State of Florida

Boeckman, Laura, counsel for the State of Florida

City of Jacksonville, Defendant-Appellee

Curry, Lenny, Defendant-Appellee (Former Mayor of Jacksonville, FL)
Deegan, Donna (Current Mayor of Jacksonville, FL)

DeSantis, Ronald, Defendant-Appellee (Current Governor of Florida)
District Court Judge Elizabeth Howard, deciding judge

Johnson Jr., J.D., Earl M., Plaintiff-Appellant

Office of Attorney General, State of Florida

Office of General Counsel, City of Jacksonville

Phillips, Jon, counsel for City of Jacksonville

Roberson, Helen, counsel for City of Jacksonville

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Schreiber, Charles, counsel for the State of Florida
State of Florida, Defendant-Appellee

Respectfully submitted,

By: /s/ Earl M. Johnson Jr.
Earl M. Johnson, Jr.
Pro Se Appellant
1635 North Liberty Street
No. 3
Jacksonville, FL 32206
(904) 525-2479 Telephone
earlmayberryjohnson@gamil.com

Dated: December 12, 2023

APPELLANT’S STATEMENT REGARDING ORAL ARGUMENT

Appellant, Earl M. Johnson Jr., J.D., (hereinafter “Appellant”)
respectfully requests oral argument pursuant to Federal Rule of
Appellate Procedure 34(a)(1) and Rule 28-1(c) of the Eleventh Circuit
Rules. Appellant has raised timely and pressing issues of whether, as an
African American experiencing fear, anger, and racial discrimination,
federal rights are violated via Confederate tributes on State and City
public land. The district court found no Article-III standing, however

Appellant contends that concrete and particularized “stigmatic injuries”

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are sufficiently pled; as well as taxpayer standing.

Appellant anticipates that Amicus Curae parties will also file briefs
supporting Appellant’s position on claims violations of Title I] Public
Accommodations, and the Thirteenth and Fourteenth Amendments. In

view of the foregoing, the case is particularly suited for oral argument.

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STATEMENT OF JURISDICTION

Appellant sought a declaratory judgment, pursuant to the
Declaratory Judgment Act, 28 U.S.C. Section 2201 (a), in the Middle
District of Florida under 28 U.S.C. § 1331, because the claims arise under
the Constitution and laws of the United States. The district court adopted
the magistrate judge’s report and recommendation and dismissed the
Second Amended Complaint. On June 6, 2023, Appellant filed a timely
notice of appeal. Jurisdiction in this Court is proper under 28 U.S.C. §§

1291, 1294(1), and 2253(a).
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STATEMENT OF THE ISSUES

1. Whether Appellant sufficiently pled an Article-III “stigmatic injury”
alleging race discrimination and being struck with “deep repulsion,
disheartenment, and intimidation’ when confronted with tributes to
Confederates and the Confederacy in governmentally owned public
spaces, in violation of the Civil Rights Act of 1964 (Title II Public
Accommodations), in violation of the Thirteenth Amendment badges of
slavery prohibitions, and in violation of Fourteenth Amendment equal
protection, where Appellant is an African American descendant of
enslaved African Americans held in the Confederacy, the Confederacy was
founded on White supremacy over African Americans and_ the
maintenance of the slavery of African Americans, and Confederate
tributes continue to be a rallying call for the ideals of White supremacy
against Appellant and violence against African Americans in Appellant's
community?

2. Whether Appellant sufficiently pled taxpayer standing alleging to be a
taxpayer and claiming that budgetary expenditures inuring to the benefit
and presence of tributes to Confederates and the Confederacy in City
owned public spaces to be unconstitutional expenditure where the

Confederacy was founded on White supremacy over African Americans

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and the maintenance of the slavery of African Americans, and

Confederate tributes continue to be a rallying call for the ideals of White

supremacy against Appellant and violence against African Americans in

Appellant’s community?

3. INTRODUCTION

Imagine being Jewish and the fastest route to work was via Hitler Avenue
or having to drive to a county named after another Nazi. In real-world parallel
from that upside-down fictional universe, for Appellant such is the landscape of
local and state public spaces marred by tributes to a preceding group of White
supremacists: Confederates and the Confederacy.

Gone with the wind are the days where reasonable could people debate
whether the Confederacy was founded on the principal of White supremacy
over African Americans (Black people). In this declaratory action, Appellant
argues that tributes to the Confederacy in public places owned by the City and
State, benefiting from public dollars, are tantamount to a governmental
endorsement of White supremacy over Appellant who is Black. [D63, pp.2-9].

In the face of these tributes, Appellant pleads to be struck with “deep
repulsion, disheartenment, and intimidation.” [D63, pp.2-9]. In other words,

Appellant alleges serious antagonism, emasculation, and fear when confronted
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with public spaces honoring Confederates and the Confederacy. The district
court however considered Appellant’s pleas to be of no moment.

For Appellant, these public, tax-paid homages to disgraced, treasonous
racists and their separatist government are the remainder of public “Whites
Only” segregation and other racially discriminatory Jim Crow policies, customs,
and laws made to enforce the “badges” of slavocracy long after the Thirteenth
Amendment was ratified.

Appellant also alleges violence and incitement of White supremacists
against Black people at the locales of these tributes, claiming past acts of
violence and intimidation in support of the reasonableness of his “stigmatic
injury” claims (studies show where public tributes to the Confederacy or
Confederates exist, violence against Black Americans by White supremacists is
intensified).1

Appellant alleges that “Alexander Stephens, the Vice President of the

Confederacy, underscored the White supremacy bedrock of the secessionist

7 Appellant's county of residence is the location of the recent racially-fueled massacre, in August of 2023, of three (3) Black people bya
White supremacist Importantly, Jacksonville, Florida is also the location of a least 10 public tributes to the Confederacy and Confederates
(even after approximately 12 such public tributes in the City have been removed over recent years). Also notable, the killer drove from a
neighboring county to commit the murders in Duval and displayed a swastika. Beyond anti-Semitism, the swastika has evolved into a
general symbol of hate and White supremacy used to terrorize and intimidate numerous ethnic and racial minorities. See Laurie Goodstein,
Swastika is Deemed Universal Hate Symbol, N.Y. Times, July 28, 2010, tinyurl.com/ylrt34kh (recognizing the swastika is a symbol “used as
an epithet against African Americans ... as well as Jews.’). The origins of the deep connection between the Confederacy and Nazism starts
with Hitler. James Q. Whitman, Hitler’s American Model: The United States and the Making of Nazi Race Law (Princeton). There, Whitman
identifies that in “Mein Kampf,” Hitler praises America as one state that has made progress on primary racial citizenship by excluding
certain races. “[Hitler] believed a Confederate victory would have set the country on a proper course. “’The beginnings of a great social
order based on the principle of slavery and inequality,” he explained in 1933 to a fellow Nazi leader, “were destroyed” when the South lost
the Civil War” Nina Silber, Worshipping the Confederacy is about white supremacy - even the Nazis thought so, The Washington Post, August
17, 2017.
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government in his Cornerstone Speech: “’Our new government is founded upon
the great truth that the Negro is not equal to the White man ... “ [D63, pp.2-9],
quoting Alexander Stephens, V.P., C.S.A.

Likewise, Appellant alleges that the “designer of the Confederate Battle
Flag, William Thompson, gave it the moniker ‘the White man’s flag.” [D63].
Appellant adds that tributes to the Confederacy, Confederates, and White
supremacists support “the ideology that Plaintiff, a Black American, is inferior
and subhuman, violating Plaintiff's [federal] rights ...” [D63, pp.2-9].

Appellant lists over 40 Confederate tributes on public land within the City
and Middle District of Florida, ranging from monuments to naming tributes in
public spaces such as parks, roads, buildings, and counties. [D63, pp.2-9].

More specifically, Appellant alleges to have recently traveled to most of
those locations and, given their tributes’ meaning and that “the KKK, Nazis and
other race hate groups have and continue to use Confederate tribute sites
within the Middle District of Florida to celebrate White supremacy ideals, and
continue to encourage the incitement of intimidation and violence against Black
Americans, of which Plaintiff is one,” in the face of these tributes, Appellant
pleads to be struck with “deep repulsion, disheartenment, and intimidation.’

[D63, pp. 2-9].
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In other words, Appellant alleges “stigmatic injury”: pleading serious
antagonism, emasculation, and fear when confronted with public spaces
honoring Confederates and the Confederacy and violations of Title II, the 13"
Amendment, and 14 Amendment, and equal protection among other claims.

This appeal stems from the district court’s finding that Appellant lacked
any Article-III injury, and thus standing, to redress his claims that, as an African
American (and a Black descendant of Africans enslaved in Confederate states),
tax-funding benefiting Confederate tributes on public land violates his federal
rights to be free of racial discrimination at the hands of the government.
Overlooking this Court’s use of Article-III-qualifying “stigmatic injury” status,
the district court erred in holding Appellant’s claims of intimidation and
exclusion in the face of Confederate tributes on public land, based upon his race,
to be “abstract” and “conclusory.”

Likewise the district erred in finding no taxpayer standing for Appellant's
federal claims.

Based upon the foregoing, this Court should reverse the judgment of
dismissal, finding Article-III “stigmatic injury” standing and taxpayer standing

and remand the case for further proceedings.
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STATEMENT OF THE CASE
1. Factual Background

In 2021, Appellant? brought a pro se declaratory action against the State
of Florida (hereinafter “State” or “Defendant”) and the City of Jacksonville
(hereinafter “City” or “Defendant”), asking the district court to declare that the
use of state and local tax dollars benefiting the presence of Confederate tributes
on public lands violates Appellant’s rights under federal law and the United
States Constitution, claiming race discrimination and intangible or “stigmatic
injury.” [D63, pp.2-9].

In the declaratory action, Appellant alleges that the Confederate States of
America (hereinafter “Confederacy” or “Confederate”) was founded 1860, in
treason, included 11 southern states seceding from the United States of
America, and caused the Civil War to preserve the enslavement of African
Americans (Black people). [D63, pp. 2-3].

Appellant contends that weeks before the start of the Civil War,

Alexander Stephens, the Vice President of the Confederacy, proclaimed the

2 Appellant is an urban middle school Civics teacher who holds a Juris Doctorate. Appellant is an African (Black) American resident of
Jacksonville, Florida, and the son of Florida Civil Rights Hall of Fame late attorney Earl M. Johnson, who desegregated Florida schools,
successfully litigated Ida Phillips v. Martin Marietta (landmark Title VII and Supreme Court case) before this Court (former 5" Circuit) and
was an attorney of Rev. Dr. Martin Luther King Jr. and the Honorable Andrew Young.
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Confederate ideal of perpetual inferiority of Black people to their White
countrymen in the Cornerstone speech:

Our new government is founded upon the great truth that

the Negro is not equal to the White man; that slavery, subordination to

the superior race, is his natural and normal condition.

Alexander Stephens, V.P., C.S.A. [D63, p.3].

Appellant charges there is no question about the White supremacist ideology
of the Confederacy, alleging the designer of the Confederate Battle Flag, William
Thompson, called it the “the White man’s flag.” [D63, pp.2-9].

Appellant further alleges that following the defeat of the Confederacy in
the Civil War, and during Reconstruction that followed, White supremacy
organizations emerged such as the Ku Klux Klan (“KKK”), Knights of the White
Camellias, and White League, seeking to preserve White supremacy through
murder, violence, and intimidation within the Middle District of Florida. [D63,
pp.2-9].

According to Appellant’s declaratory action, by 1912 White supremacist
women’s auxiliary groups such as the United Daughters of the Confederacy
(“UDC”), within the Middle District of Florida, rose to promote the falsehood of
benign ownership of Black Americans and White supremacy; working with the

KKK to “protect whites from negro rule.” [D63, pp.2-9].
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Further, within the Middle District of Florida, Appellant alleged the
existence of over 40 monuments and naming tributes to the Confederacy and
Confederates on tax-funded public land, including but not limited to counties, a
county census district, school district names, parks, schools, streets, roads,

programs, and a courthouse KKK mural, among other tributes.

° Baker County
e __ Baker County School District
° Baker County Pre-K/Kindergarten
e _ Baker County Middle School
e __ Baker County High School
° Robert E. Lee Lane .
e —_ Baker County Courthouse Mural Depicting Hooded KKK Members Riding Horseback
Bradford
° Bradford County
° Bradford County School District
° Bradford County Middle School
° Bradford County High School
Columbia
° Olustee Confederate Battle Monument at State Park
Duval
e _ Florida Confederate Soldiers Memorial Pedestal at City Park
Monument to Women of the Confederacy at City Park
Yellow Bluff Fort Monument at State Park
Confederate Point Road
Confederate Street
Confederate Point Road
Stonewall (Jackson) Street
(Stonewall) Jackson Street
(Jefferson) Davis Street
e ‘Jefferson (Davis) Street
Hamilton
e Confederate Monument at County Courthouse Lawn
Hendry
e Hendry County
° Hendry County School District
Hernando
e Confederate Soldier Monument at County Courthouse Lawn
Hillsborough
° Lanier Elementary School
e __ Robert E. Lee Road
e Stonewall Jackson Elementary School
Lee

e Lee County

e Lee County School District

e —_ Lee County Adolescent Mothers Program

° Lee County Memorial Hospital
Madison

e Confederate Monument at State Park
Manatee

e Judah P. Benjamin Confederate Memorial at State Park
Marion

° Confederate Flag at County Government Building
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Appellant alleges, over the preceding four (4) years before filing the
declaratory action, to have traveled through or visited most all of the public
locations identified within the Middle District of Florida. Appellant complains
to be “deeply repulsed, disheartened, and intimidated by the governmental
celebrations of White supremacy against him as a Black American.”* [D63, pp.2-
9].

Appellant complains that being deeply frightened, emasculated, and
racially excluded in the face of Confederate tributes is “reasonable given that
White supremacist organizations, such the KKK, Nazis and other race hate
groups have and continue to use Confederate tribute sites within the Middle
District of Florida to celebrate White supremacy ideals, and to encourage the
incitement of intimidation and violence against Black Americans, of which

Plaintiff is one.” [D63, pp.2-9].

Nassau
e Yulee County Census Division
e General Lee Road

e Pasco County

e Pasco County School District

e Pasco County Elementary School

e Pasco County High School
Putnam

e -< Robert E. Lee Drive

° Confederate Monument at County Courthouse Lawn
Suwannee

° Confederate Monument at State Park
Volusia

e Confederate Oak at City Park

4 The Oxford Dictionary defines “intimidate” as to “frighten or threaten someone so that they will do what you want.”
Oxfordlearnersdictionaries.com (December 8, 2023; 5:44 p.m.). Webster Dictionary indicates the word means "to make timid or fearful:
FRIGHTEN ... especially: to compel or deter by or as if by threats.’ merriam-webster.com. (December 8, 2023; 5:48 p.m.)(emphasis
supplied).
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Appellant further claims that tributes to the Confederacy, Confederates,
and White supremacists, located on local public land support “the ideology that
Plaintiff, a Black American, is inferior and subhuman, violating Plaintiff's
[federal] rights ...” [D63, pp.2-9].

Appellant urges that the intentional conduct of the State and City is
continuing in nature: “Defendants, in their official capacities, continue enact
general budgetary allocations inuring to the presence, maintenance,
preservation and protection of monuments and/or naming tributes to the
Confederacy, Confederates and White supremacists on public land, within the
Middle District of Florida, through public tax-based funding, under the color of
law. Defendants’ conduct is continuing in nature.” [D63, p.9].

To this end, Appellant brought declaratory claims under Title II (Public
Accommodations) of the Civil Rights Act of 1964, the Thirteenth Amendment,
and the 14th Amendment. Appellant also claimed taxpayer standing. The
district court dismissed the action in whole, finding that Appellant lacked an
Article-[II injury. [D63, pp.2-9].

2. Procedural History

a. Second Amended Complaint for Declaratory Judgment................ [D63]
b. The magistrate judge’s report and recommendation on Motions to

dismiss the Second Amended Complaint...........ccccesssessneesssseeeeees [D80]
c. Appellant’s objections to the report and recommendation........... [D81]

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d. The district court’s overruling of Appellant’s objections, and adoption
and approval of the magistrate judge’s report § and
FECOMMENAAtION...........ccceceeenecenseeceeceeeeetenaseeeeeseseeeneeseneneeasseneseeneess [D83]

@. Notice of Appealisccsisnivsvsnssoscestencannvaccenssevenccaceneaeventenccteeraceoaensevesenses [D85]

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Standard of Review

The standard of review is de novo. United States v. guaran, 821 F.3d 1335,
1336 (11th Cir. 2016) (“[t]he district court’s [12(b)(1)] subject matter
jurisdiction is a question of law that we review de novo.’).

SUMMARY OF ARGUMENT

The district court missed the mark when it found Appellant, a local and
state tax paying African. American descendant of enslaved African Americans
held in Confederate states, could articulate no concrete, particularized
“stigmatic injury” for Article III standing under federal claims based upon
Confederate tributes on State and City land within the Middle District of Florida,
even though the district court did not challenge the White supremacy
symbolism of Confederacy tributes.

Hinting the issue of tax-funded Confederate tributes on public land to be

a nonjusticiable political question as argued by the Appellees [D80, p.17], the

district court erred when it found Appellant’s pleas of fear and intimidation to

be “abstract” and “conclusory,” indirectly defining “stigmatic injury” to be per se

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insufficient, or at least generally too weak, to establish Article-III “stigmatic
injury” standing - dismissing all counts. [D80, pp.26-27, 58-59]

On the other hand, as recently as in Sierra this Court continues to iterate
that “stigmatic injury” is a qualifying injury for Article-III standing. Sierra v. City
of Hallandale Beach, 996 F.3d 1110 (11 Cir. 2021) calms any question about
the viability of a stigmatic injury claim in the 11" Circuit. Consistent with the
protestations in Sierra, here Appellant complains to have suffered illegal
discrimination and that the conduct resulted in “perpetuating ‘archaic and
stereotypic notions’ or by stigmatizing members of the disfavored group as
‘innately inferior’ ...” [d. The Court held that being made to feel subhuman and
excluded in public spaces can be an Article-III violation. Id.

Below the district court gave short shrift to Appellant’s intangible injury
claims of intimidation, repulsion, and racial exclusion induced by Confederate

tributes in public places, finding the allegations “a sort of abstract stigmatic

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injury,” “generalized grievance,’ “conclusory” and “at a minimum, Mr. Johnson
fails to allege facts showing he has suffered or will suffer a personalized injury
required for ordinary standing.” [D80, pp.26-27, 34]. The district court
concluded that Appellant lacked Article-III concrete or particularized injury -

without an actual analysis of Appellant’s claims under a “stigmatic injury”

considerations under appropriate 11" Circuit precedent. [D80, pp.17-27].

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This error requires reversal and remand on all counts.

Among other things discussed infra, the district court erred by not
applying the “full and equal enjoyment” language in Title II of Civil Rights Act of
1964’s Public Accommodations law when factoring Appellant’s claimed Article-
III standing in considering “stigmatic injury.”

Title II of the Civil Rights Act of 1964 (Public Accommodations) provides
in pertinent part that “All persons shall be entitled to the full and equal
enjoyment of the goods, services, facilities, privileges, advantages, and
accommodations of any place of public accommodation, as defined in this
section, without discrimination on the ground of race, color, religion, or
national origin.” 42 U.S.C. § 2000a (a) (emphasis added).

As “stigmatic injury’ demonstrates, Appellant is not afforded full and
equal enjoyment of public places marred by looming tributes to the ideal of
White supremacy. This is so because Appellant’s claims of fear, repulsion, and
racial exclusion induced by government-supported Confederate tributes, i.e.,
the government-endorsed ideology of White supremacy.

The very essence of the Title II claim is that Appellant suffered “stigmatic
injury” with Confederate tributes on public land, thereby impairing “full use and
enjoyment” of the public accommodations. [D63, pp. 2-11]. In view of the

foregoing, Appellant has stated a “stigmatic injury” under Title II.

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Appellant has also sufficiently pled a concrete, particularized “stigmatic
injury” under the Thirteenth Amendment and Fourteenth Amendment by
virtue of the White supremacy messaging from Confederate tributes in public
places and the “stigmatic injury” suffered thereby.

Finally, though unnecessary to prosecute the foregoing civil rights claims,
Appellant has also properly pled taxpayer standing related to the allegation
that budgetary expenditures by Appellees benefiting Confederate tributes are

unconstitutional.
ARGUMENT

a. The District Court Erred in Not Finding Article-III Standing

1. Confederate Tributes Have Always Been Symbols of
White Supremacy

Confederate tributes on public land have always been symbols of White
supremacy over Black people:

Although some of these Confederate memorials were
dedicated shortly after the Civil War ended in 1865,

the majority were dedicated during ... two spikes in
Confederate memorialization coincide with the rise

of Jim Crow laws and re-segregation efforts following
the end of Reconstruction in the early 20th century,

and with the massive-resistance campaign waged by
opponents of the civil rights and desegregation movements
of the 1950s and 1960s. These were not random

acts of memorialization during a period of historical and
patriotic fervor, but were instead part of a concerted
effort to reinforce a white supremacist worldview in
mainstream society.

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Richard Schragger, Confederate Monuments and Punitive Preemption: The

Latest Assault on Local Democracy, University of Virginia School of Law Public

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Law and Legal Theory Research Paper Series, 2019-54 October 2019 citing Am.
Historical Ass’n, Statement on Confederate Monuments (2017),
https://perma.cc/8Q6E-HKBH (arguing that Confederate monuments erected
in the early and mid-20th century were “part and parcel of the initiation of
legally mandated segregation and
widespread disenfranchisement across the South .... [and] were intended, in
part, to obscure the terrorism required to overthrow Reconstruction, and to
intimidate African Americans politically
and isolate them from the mainstream of public life”).

“Confederate Monuments, built to advance the mythology of a ‘Lost
Cause’ explanation for the Civil War and to advance white supremacy,
constitutes the kind of Government speech that should be restricted by the
Equal Protection Clause.” Scott Holmes, Do Public Confederate Monuments
Constitute Racist Government Speech Violating the Equal Protection Clause?,
North Carolina Central Law Review: Vol. 41 : No. 2, Article 2 (2019).

Further, research shows a direct link between Confederate tributes and

racism against Black people. In addition to placing monuments and naming

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honors, UDC’s work was to prepare future generations of White Americans to
respect and defend the principles of White supremacy - rejecting school
textbooks that that said slavery was a central cause of the Civil War, praising
the KKK (who helped build Confederate memorials), giving speeches that
distorted the cruelty of American slavery, and defending slave owners. Karen
Cox, Dixie’s Daughters: The United Daughters of the Confederacy and the
Preservation of Confederate Culture, University of North Carolina at Charlotte,
May 11, 2003. “[T]hose were very clearly white supremacist monuments and
are designed to intimidate, not just memorialize,” increasing during notable
periods of Black civil rights advancements. Jane Dailey, University of Chicago,
professor of American history; Confederate Monuments Were Never Really
About Preserving History, Ryan Best, July 8, 2020, projects.fivethirtyeight.com
(December 8, 2023; 6:37 p.m.).

Notably, the deep, injurious nature of public tributes to the Confederacy
alleged by Appellant may be more challenging for non-Blacks to grasp: “White
U.S. residents are drastically less likely to perceive them as symbolic of racial
injustice than are Black U.S. residents. Further, state protection of Confederate
monuments leads to a diminished sense of belonging among Blacks, while
leaving Whites unaffected.” Britt, Wager, Steelman, Du Bois Review: Social

Science Research on Race, Volume 17, Issue 1, Spring 2020, pp. 105 - 123.

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Confederate tributes on public land have been deemed badges of slavery
and race discrimination in public places as they: “established public ‘badges of
inferiority’ for the excluded group, marking them as of lower social status.”
United States v. Baird, 85 F.3d 450, 454-55 (9% Cir. 1996).

In the district court, Appellant presented allegations under oath that
“More than 2,000 memorials in the United States valorize the Confederacy, a
secessionist government that waged war to preserve white supremacy and the
enslavement of millions of people. Erected as part of an organized propaganda
campaign to terrorize African American communities, these memorials distort
the past by promoting the Lost Cause narrative.” Whose Heritage | Southern
Poverty Law Center (splcenter.org), as of November 17, 2021. [D79, pp.9-10].°

Weighing on “stigmatic injury,” where tributes to the Confederacy exist,
violence against Black people at the hands of White supremacists intensifies. As
a 2021 University of Virginia study shows: “Lynchings were a common tactic to
suppress civil rights efforts and terrorize Black communities ... [s}outhern
White people lynched Black people (and other White people they perceived to

support Black suffrage) in extremely violent ways, including mutilation,

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12 (b)(1) “(flactual attacks, on the other hand, challenge the existence of subject-
matter jurisdiction in fact, and the district court may consider matters outside of the
pleadings.” Koury v. Sec’y, Dep't of Army, 488 F. App'x 355, 356 (11th Cir. 2012). When considering a 12 (b)(1) factual attack, Fed. R. Civ. P.
12(b)}(6) standards apply. Michel Vv. NYP Holdings, Inc, 816

F.3d 686, 694 (11th Cir. 2016).

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dismemberment, and burning ... some of this torturing happened groups of
people and in public spaces, often intentionally in predominantly Black areas ...
the direct murderers participated in the terrorizing of Black Americans.” Kyshia
Henderson, Confederate Monuments and the History of Lynching in the American
South: An empirical Examination, October 11, 2021. Using empirical data over
decades, researchers found a direct correlation between lynchings and public
Confederate tributes. At a minimum, the data below suggests that localities with
attitudes and intentions that led to lynchings also had attitudes and intentions
associated with the construction of public Confederate memorials. /d. The study
diagram below shows dozens of lynchings and Confederate tributes cutting a

swarth through the Middle District of Florida, highlighted in the darkest red.

Confederate Symbols and Victims of Lynchings
in the Former Confederate States

e University of Virgina, Confederate Monuments and the History of Lynching (2021)

The White supremacy messaging of Confederate tributes on public land

sets the groundwork of Appellant’s concrete, particularized “stigmatic injury.”

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2. Appellant Properly Pled Concrete, Particularized
“Stigmatic Injury”

The District Court erred in not finding concrete, particularized “stigmatic
injury, deeming Appellant’s underpinning allegations to be “abstract” and
“conclusory.” [D80, pp.24-27].

At the outset, this Court continues to iterate that “stigmatic injury” is a
qualifying injury for Article-III standing. Sierra v. City of Hallandale Beach, 996
F.3d 1110 (11% Cir. 2021); Laufer v. Arpan LLC, 29 F4% 1268 (11 Cir. 2022)¢,
mooted, alive.”).2022) , vacated on other grounds, 77 F.4th 1366 (11th Cir. Aug.
15, 2023)(mem.).”

In Laufer, an ADA plaintiff claimed stigmatic injuries when viewing a
hotel’s website that omitted accessibility-related information required by
federal regulation. Holding that the plaintiff need not have been physically
present to suffer “concrete” emotional injury of frustration and embarrassment
from viewing the site online, this Court found that the plaintiff met the
requirements of a stigmatic injury, and that the injury was sufficiently

particularized “because her emotional injury is her emotional injury.” /d., at

© Laufer was recently vacated on mootness grounds after counsel for Arpan LLC disclosed fifteen months after the opinion was issued that
the company had dissolved seven weeks before the opinion issued. Laufer v. Arpan LLC, 77 F.4th 1366 (11th Cir. Aug. 15, 2023) (mem.). This
disclosure was part of an apparent effort to avoid Supreme Court review in a related case. Id. at 1366 n.1. While Laufer is no longer binding
on this Court, its analysis of Supreme Court and Eleventh Circuit stigmatic injury caselaw remains highly persuasive.

7 Though recently mooted, Laufer’s reasoning follows Sierra which reconfirmed “stigmatic injury” claims in the 11" Circuit based upon
alleged violations of federal rights. Consistent with Laufer, Appellant complains that to have suffered illegal discrimination and that the
conduct resulted in intimidation, being made to feel subhuman, and excluded in public spaces. /d., 29 F4th at 1272 (humiliation, frustration,
embarrassment are “’a concrete intangible injury ... a particularized injury’ ... we think that the emotional injury that results from illegal
discrimination is [a concrete injury]”).

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1272 (emphasis supplied), citing Sierra, 996 F.3d 1110 (11% Cir. 2021); Heckler
v. Mathews, 465 U.S. 728 (1984); Allen v. Wright, 468 U.S. 728 (1984).
Although Laufer is no longer binding on this Court, the cases Laufer relied
upon remain binding and require the same result. In Sierra, the Eleventh Circuit
similarly held that “that a deaf plaintiff suffered a concrete ‘stigmatic’ injury
when he watched, but could not hear and thus understand, videos that a city
posted on its official website and for which it re-fused to provide closed
captioning.” Laufer, 29 F4th at 1273 (citing Sierra, 996 F.3d at 1114). The Sierra
court reasoned that “[a]n individual who suffers an intangible injury from
discrimination can establish standing if he personally experienced the
discrimination” because “[d]iscrimination itself, by perpetuating ‘archaic and
stereotypic notions’ or by stigmatizing members of the disfavored group as
‘innately inferior’ ... can cause serious non-economic injuries to those persons
who are personally denied equal treatment solely because of their membership
in a disfavored group.” Sierra, 996 F.3d at 1114 (quoting Heckler, 465 U.S. at
739-40). Similarly, the repulsion and intimidation Appellant personally
suffered when he viewed or traveled into the “the governmental celebrations of
White supremacy against him as a Black American” caused him serious non-
economic injuries from being marked as “innately inferior’ compared to White

citizens. [D63, pp.2-9].

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The district court’s reliance on Gardner v. Mutz, 962 F3d 1329 (11" Cir.
2020) and McMahon v. Fenves, 946 F.3d 266 (5th Cir. 2020) to find that the
Appellant lacked standing is both ironic and incorrect. These cases concerned
the standing of Confederate sympathizers suing to prevent the removal of
Confederate memorials from public property. Jd. They turned on whether the
Confederate sympathizers sufficiently established “aesthetic” injury under
Sierra Club v. Morton, 405 U.S. 727 (1972) by alleging routine visits to
Confederate memorials. Gardner, 962 F.3d at 1342-43 (holding that
Confederate sympathizers failed to establish aesthetic injury by not alleging
that they “routinely visited the [Confederate] monument in Munn Park’);
Gardner v. Mutz, 857 F. App. 633, 635 (11th Cir. 2021) (holding that the same
Confederate sympathizers sufficiently pled aesthetic injury on remand when
they amended their complaint to allege “that they visit the [Confederate]
monument regularly and have concrete plans to visit the monument again in
the future”). The district court found that Appellant lacked standing because he
did not allege routine visits to Confederate memorials. [D80, p.26 (“Unlike the
plaintiffs in Gardner on remand, he fails to allege that he regularly visits any
place or plans to regularly visit any place soon.”)]. But the “aesthetic” injuries
claimed by the Confederate sympathizers in Gardner are the exact opposite of

the stigmatic injuries at bar.

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Appellant’s standing turns on the repulsion, intimidation, and race
discrimination experienced from being exposed to dozens of governmentally
sanctioned Confederate tributes. By contrast, the Gardner plaintiff's standing
turned on the loss of their ability to enjoy regular visits to Confederate
monuments celebrating White supremacy following their removal. Appellant
‘does not need to allege routine visits to Confederate tributes to establish
standing because he does not seek to enjoy them—instead, his injury arises
from the repulsion, intimidation, and race discrimination he experiences from
the occasions on which he has viewed and traveled into them.

Indeed, multiple visits are generally not required in stigmatic injury
cases. For example, the deaf plaintiff in Sierra suffered a concrete stigmatic
injury after visiting the defendant city’s website only once. Sierra, 996 F.3d at
1111-12. Similarly, Laufer suffered a concrete stigmatic injury after visiting the
website of an allegedly non-ADA compliant hotel only once, and despite
“admit[ing] that she has no intention to visit the Value Inn or the area in which
it’s located.” Laufer, 219 F.4th at 1271. The district court’s conclusion that a
plaintiff deeply repulsed and intimidated by Confederate monuments must plan
to routinely visit them before suffering a cognizable injury misstates the
standing requirements announced by stigmatic injury precedent. Moreover,

this conclusion—which incoherently mixes the distinct bodies of caselaw

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governing aesthetic and stigmatic injuries—is absurd on its face, as it suggests
that only those who regularly enjoy Confederate memorials could possibly
suffer an injury by their presence or lack thereof.

Nor is Appellant’s injury a mere “psychological consequence presumably
produced by observation of conduct with which [he] disagrees.” Cf Valley Forge
Christian Coll. v. Ams. United for Separation of Church & State, Inc., 454 U.S. 464,
485 (1982). Rather, as the Supreme Court explained in Heckler and this Court
reaffirmed in Sierra and Laufer, “discrimination itself, by perpetuating ‘archaic
and stereotypic notions’ or by stigmatizing members of the disfavored group as
‘innately inferior’ and therefore less worthy participants in the political
community, can cause serious noneconomic injuries to those persons who are
denied equal treatment solely because of their membership in a disfavored
group.” Heckler, 465 U.S. at 729. These cases, read together, reveal that the
stigma created by discrimination is not merely a psychological consequence—
rather, it is a “serious” injury inflicted upon those whom society designates as

“innately inferior.”8

8 “An individual who suffers an intangible injury from discrimination can establish standing if he personally experienced the

discrimination.” Id, citing Allen, 468 U.S. at 757, n.22. Below, Appellant alleged the personal experience of having traveled to most of the
public parks, monuments, memorials, roads, streets, counties and observed other governmental tributes to Confederates or the
Confederacy named in the declaration action. These allegations went to all counts.

Appellant also complained of the emotional trauma experienced by the inundation of government endorsed White supremacy against
Appellant as a Black person; that he would become nauseated, lose hope, and struck with fear ~ described as:

During the last four (4) years, Plaintiff has traveled through or visited most all of the public locations above-identified within
the Middle District of Florida.

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Shown below, the “stigmatic injuries” complained of by Appellant in the
declaratory action fit under Title II Public Accommodations, Thirteenth
Amendment “badges of slavery,” and Fourteenth Amendment equal protection.
Elston v. Talladega County Bd. of Educ., 997 F.2d 1394, 1407 (11th Cir. 1993) (in
claim fighting closure of historically Black schools, "stigmatic injury results
when discriminatory conduct by the state ‘stigmatizes a person’ or ‘casts a
badge of inferiority’ on a disfavored group." /d. (Emphasis added).

3. “Stigmatic Injury” under Title I] Public Accommodations
Among other things, the Civil Rights Act of 1964, Title II Public

Accommodations is meant to protect people from race and color discrimination

Plaintiff is deeply repulsed, disheartened, and intimidated by the governmental celebrations of White supremacy against him as
a Black American.

[Dec. Act. p.8]. Laufer, 29 F4th 1268 (“An individual who suffers an intangible injury from discrimination can establish standing if he
personally experienced the discrimination.’) /d,, citing Allen, 468 U.S. at 757, n.22.

Polar opposite were the original plaintiffs in Ladies Memorial Association v. City of Pensacola, No. 20-14003, 2022 WL 1536750 (11'" Cir.
May 16, 2022). All the original plaintiffs in Ladies Memorial were either organizations or people sympathetic to the Confederacy and
Confederate tributes. /d., at pp. 6-7. There plaintiffs initially sought and received a temporary restraining order in Florida circuit court, but
on removal to the Northern District of Florida, the district court addressed the plaintiffs’ First Amendment claims based upon the assertion
that “removing the [Confederate monument’s] speech is eliminating their constitutionally guaranteed freedom of expression and speech
rights” and the claims that the City of Pensacola, Florida violated their Due Process and Equal Protection rights. Id. at 7. The district court
dismissed the case with prejudice, finding no standing as to any of the federal claims. /d., at 5.

On appeal, relying primarily on Gardner v. Mutz, 962 F.3d 1329, 1338 (11" Cir. 2020) and Diamond v. Charles, 476 U.S. 54, 106 S. Ct. 1697,
1706 (1986), this Court found the “problem with the plaintiffs’ allegations is that they do not amount to an injury we recognize under
Article Ill.” Ladies Memorial, at p.9. The Eleventh Circuit held so because “[mJost of the plaintiffs’ allegations of harm go only to the general
disagreement with taking down the [Confederate monument] and the general notion that such action by the government would violate
their constitutional rights, both of which fall short of the concreteness standard ..." Id. (emphasis added).

This Court also found plaintiffs’ taxpayer, preservation and reputation claims inadequate in Ladies Memorial. As to taxpayer standing,
unlike Appellant, plaintiffs never alleged that their taxes were being used for the removal of the Confederate Monument, ie. in the illegal
activity being alleged. /d., at 10. On preservation and reputation, the Court held the allegations lacking “concreteness” as to how removal
affects Florida’s history or their reputations because “a mere recitation that the government is violating one’s constitutional rights is not
concrete enough to establish standing.” /d., pp.9-10.

Ladies Memorial is consistent with Gardner, where this Court maintained the original finding of no protectable interest or cognizable injury

to plaintiffs “vindicating the cause of the Confederacy and protecting and preserving memorials.” Gardner, at p. 2. Ladies Memorial and
other cases brought by Confederate sympathizers stand in stark contrast to the matter at hand.

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in public places. Roads, streets, drives, and parks are places of public
accommodation, as defined by the Civil Rights Act of 1964, as they are places of
exhibition or entertainment, supported by governmental action and/or their
operations affect commerce pursuant to 42 U.S.C. Section 2000a (c).

Put simply, race discrimination in public places and accommodation
“establishe[s] public “badges of inferiority” for the excluded group, marking
them as of lower social status” Baird, 85 F.3d 450, 454-55 (9% Cir. 1996). The
“primary purpose” of Title II’s public accommodations was “to solve this
problem, the deprivation of personal dignity that surely accompanies denials of
equal access to public establishments.” Heart of Atlanta Motel v. United States,
379 US. 241, 250-53 (1964) (citing the “pleasure and convenience” that must
be afforded to Black people in places of public accommodation). However, the
mere presence of Confederate Symbols in public places does not automatically
violate Title IJ. Instead, the violation occurs when such presence results in
discriminatory treatment or perpetuates segregation (i.e. establishing second-
class status), thus impeding Appellant's “full and equal enjoyment” of public
accommodation as pled. Id.; [D63, pp.2-11].

Appellant alleges that encounters with Confederate symbols in public

places serves as a constant reminder of not only a painful history of racial

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subjugation, but the current governmental endorsement of White supremacy,
combining to create intangible, but concrete, particularized stigmatic injury. Id.

Unlike Aaron Priv. Clinic Mgmt. LLC v. Berry, 912 F.3d 1330, 1338 (11%
Cir. 2019), which found an organizational plaintiff did not have standing for
stigmatic injury because complaints were not personal allegations of
discriminatory experiences, Appellant alleges personal experiences of the
discrimination and its concrete and particularized injuries. Id.; [D63, pp.2-11].

Certainly being physically present in parks, on streets, and in counties
publicly honoring Confederates and the Confederacy adds to intensity of the
“stigmatic injury” for Appellant. But consider the hearing-impaired Sierra
plaintiff also “suffered a concrete and particularized injury” when observing
parts Hallandale Beach’s website that were inaccessible to the hearing impaired
from a computer. /d., 996 F.3d at 1114.

Similarly, Appellant need not have alleged to have continually been
subjected to the offending symbols, i.e, returning to the locales again and again.
See e.g., Freedom from Religion Found. Inc. v. New Kensington Arnold Sch. Dist.,
832 F.3d 469, 476-9 (3d Cir. 2016) (Shwartz, J.) (“Nearly every court of appeals
has held that standing in this context requires only direct and unwelcome

personal contact with the alleged establishment of religion.”).

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While altering one’s behavior to avoid something may demonstrate that
the thing avoided is unwelcome, altered conduct is not a prerequisite for
obtaining standing in this context. See also Salazar v. Buono, 559 U.S. 700 (2010)
(noting lower courts had found standing despite there being no change in
activities of plaintiff). It is enough that an exposure occurred. Robinson v. City of
Edmond, 68 F.3d 1226 (10th Cir. 1995), cert. denied, 517 U.S. 1201 (1996); see
e.g. Murray v. City. of Austin, 947 F.2d 147 (Sth Cir. 1991), rehearing denied,
1991 U.S. App. LEXIS 29558 (5th Cir.), cert. denied, 505 U.S. 1219 (1992).

Stigmatic injury via discrimination self-perpetuates inferiority by
emotionally stigmatizing a member of the disfavored group: “Discrimination
itself, by perpetuating ‘archaic and stereotypic notions’ or by stigmatizing
members of the disfavored group as ‘innately inferior’ ... can cause serious non-
economic injuries to those persons who are personally denied equal treatment
solely because of their membership in a disfavored group.” Sierra at 1113, citing
Heckler, 465 U.S. at 739-40.

The Eleventh Circuit has broadly recognized stigmatic injury in other
contexts. For example, in Elston, 997 F.2d 1394, 1407 (11th Cir. 1993), plaintiffs
alleged that the school board violated a variety of federal laws in connection
with the restructuring of the school system, including the closure of historically

Black schools. This Court held that "stigmatic injury results when

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discriminatory conduct by the state 'stigmatizes a person’ or ‘casts a badge of
inferiority’ on a disfavored group." Jd. (emphasis added).

The Supreme Court has also acknowledged the significance of stigmatic
harm. In Romer v. Evans, 517 U.S. 620 (1996), the Court held that a state
constitutional amendment targeting the LGBTQ+ community violated the Equal
Protection Clause because it inflicted stigmatic injury by conveying a message
of harm, exclusion, and second-class status. Jd. Harm, exclusion, and second-
class status allegations are indeed present at bar. Elston, 997 F.2d at 1407 (11th
Cir. 1993).

The impact of Confederate Symbols on Appellant constitutes a violation
of rights protected under Title IJ. The cumulative effect of these symbols denies
Appellant the full and equal enjoyment of public accommodations and
perpetuates an environment of racial inequality that Appellant pernally

experienced. /d.°

9 Likewise, where a state or local law discriminates based upon race or color in any place, itis a violation of Section 202 of the Civil Rights
Act of 1964, which provides that all “persons shall be entitled to the full and equal enjoyment of the goods, services, facilities, privileges,
advantages, and accommodations of any place of public accommodation ... without discrimination ... on the ground of race, color ...” 42
U.S.C. Section 2000a(a). In controlling former Fifth Circuit, Robertson v. Johnson, 376 F.2d 43 (5" Cir. 1967}, determined that even where a
specific ordinance or law is not at issue, Section 202 was “sufficiently broad to cover” local customs of race discrimination. There, a White
woman sued claiming her arrest in a Black night club was the result of the City of New Orleans’ custom of discouraging White women from
entering Black entertainment establishments. Here, similarly, Appellant attacks as illegal the local customs of monuments and naming
tributes to the Confederacy, Confederates, Confederate sympathizers in public places and spaces. Id. at 45, n. 5 (noting a definition of
custom as a “practice of the people, which, by common adoption and acquiescence, and by a long and unvarying habit, has become
compulsory, and has acquired the force of law.”).

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In view of the foregoing, the declaratory action establishes standing and
states a cause of action under Title IJ, as public funding for naming tributes
and/or monuments to the Confederacy and Confederates and presence thereby
in public spaces and places impede Appellant’s “full use and enjoyment” of
public places that are required to be free of race discrimination; and Appellant
has demonstrated concrete, particularized “stigmatic injury” therefrom
satisfying Article-III standing and the pleading standard.

4. “Stigmatic Injury” Under Thirteenth Amendment Badges of Slavery

What is clear from the Amendment itself as well as the writing of the
courts at the time is that the intention of the Thirteenth Amendment was not
merely the ending of literal slavery, but also an ending to those elements that
allowed American slavocracy to exist. Right away, the philosophy of racial
supremacy was identified as one such element. Civil Rights Act of 1866.

In the same light, when the Thirteenth Amendment barred the badges of
slavery, it barred anything that would lead to the hindrance of the
constitutional right to be free of all elements of slavery based on the stigma of
a person’s race. See Civil Rights Cases, 109 U.S. 3 (1883); Or. v. Mitchell, 400 U.S.
112, 128-29 (1970); see also Hodges v. U.S., 203 U.S. 1, 26-27 (1906) (Harlan, J.,
dissenting); Elston, 997 F.2d at 1407 (in claim fighting closure of historically

Black schools, "stigmatic injury results when discriminatory conduct by the

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state 'stigmatizes a person’ or ‘casts a badge of inferiority’ on a disfavored
group.") (emphasis added).

This includes the government endorsement of racial superiority. United
States v. Cannon, 750 F.3d 492, 501 (5th Cir. 2014) (holding White supremacist
symbols amounted to “badges of slavery” and “indicators, physical and
otherwise, of African-Americans’ slave or subordinate status,” violating
Thirteenth Amendment); see also Edward H. Kyle, Symbolism and the Thirteenth
Amendment: The Injury of Exposure to Governmentally Endorsed Symbols of
Racial Exposure to Governmentally Endorsed Symbols of Racial Superiority, 25
Mich. J. Race & L. 77 (2019).

The Thirteenth Amendment was initially intended to eradicate the
institution of slavery from the American landscape and provide an equal status
to all races. “By its own unaided force and effect it abolished slavery, and
established universal freedom.” Slaughter-House Cases, 83 U.S. 36, 69, 71-72
(1873). This general applicability was again stated in Hodges, 203 U.S. at 16-
17, and confirmed by the result of the peonage cases.

Even before the ratification of the Thirteenth Amendment, the
metaphoric usage of “badges” of slavery or servitude had common usage in
courts and Congress to refer to race discrimination which constituted a

remnant of Black slavery. In Dred Scott, Chief Justice Taney, following the

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common meaning of the metaphor, uses the “badges” metaphor to refer to
racially discriminatory laws in states that had abolished slavery. Likewise,
Justice Daniel uses “badge of disgrace,” comparing American slavery to slavery
in ancient Rome. Dredd Scott v. Stanford, 60 U.S. 393, 479 (1857). Chief Justice
Taney argued that racially discriminatory laws “stigmatized” and “impressed ...
deep and enduring marks of inferiority and degradation” upon Black Americans
as a group. Id., at 416 (Black Americans “were identified in the public mind with
the race to which they belonged, and regarded as a part of the slave population
rather than free.”) Id, at 393, 411.

State laws were imposing badges of slavery not because they maintained
or attempted to reimpose the slave system; rather they imposed badges of
slavery because, in conjunction with the White community’s social customs,
they imposed a stigma upon African Americans as a group. Id.

Another metaphoric example of the “badge” usage at the time was the
phrase “badge of fraud,” which occasionally appears in antebellum cases to refer
to sham transactions made to shield a debtors’ assets from creditors. George
Rutherglen, The Badges and Incidents of Slavery and the Power of Congress to
Enforce the Thirteenth Amendment, University of Virgina School of Law (2007).
By the 1800s, “badge of slavery” was commonly used to refer to dark skin, but

it also had other meanings. Some abolitionists referred, for example, to

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physically grueling labor as a “badge of slavery.” Jennifer Mason McAward,
Defining The Badges, supra 14 U. Pa. J. Const. L. 561 (2011-2012), n. 3, at 576-
78.

A more historically grounded understanding of the “badges” metaphor
visa vi the Thirteenth Amendment is found in Justice Harlan’s dissent in the Civil
Rights Cases, 109 U.S. 3 (1883). According to Justice Harlan, “discrimination
practised [sic] by corporations and individuals in the exercise of their public or
quasi-public functions is a badge of servitude,” and, as such, is a proper target
of Thirteenth Amendment regulation. Jd. Though employing the metaphor to
opposite ends, Justice Harlan’s usage of the metaphor follows Justice Taney’s in
that it supposes that public discrimination reinforced by custom may impose a
badge of slavery.

Justice Harlan again uses “badge of servitude” to explain discrimination

based upon race in Plessy v. Ferguson, 163 U.S. 537 (1896). There Justice Harlan

renews his view that the “arbitrary separation of citizens on the basis of race

while they are on a public highway is a badge of servitude.” /d. (emphasis

added). Of course, the Plessy majority infamously denies that segregation marks
African Americans with “a badge of inferiority.” Id.
Justice Harlan understood that because the dogma of Black inferiority

was integral to maintaining slavery, the Thirteenth Amendment's guarantee of

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"freedom necessarily involved immunity from, and protection against, all
discrimination against them, because of their race, in respect of such civil rights
as belong to freemen of other races." Id; Nicholas Serafin, Redefining the Badges
of Slavery, 56 U. Rich. L. Rev. 1291, 1337 (2022).

The historical usage of the “badges” metaphor indicates a more expansive
question than the district court asked in dicta: is there a claim of slavery or
involuntary servitude? Rather the appropriate determination is whether
Appellant states a “stigmatic injury,” as described infra, when pled under the
Thirteenth Amendment’s “badges of slavery” prohibitions. The answer is in the
affirmative.

When the Thirteenth Amendment barred the “badges of slavery,” it also
barred anything that would lead to the hindrance of the constitutional right to
be free of all elements of slavery based on a person’s race. See Or, 400 at 128-
29 (1970); see also Hodges, 203 U.S. at 26-27 (Harlan, J., dissenting). For
example, in Jones v. Alfred H. Mayer Co., 392 U.S. 409 (1968), the Supreme Court
upheld 42 U.S.C. 1982 after concluding that Congress’s determination that “the
exclusion of Negroes from white communities” through restrictions on sales of
property was among the “badges and incidents of slavery.” Jones, 392 U.S. at
422, 441-442; Elston, 997 F.2d at 1407 ("stigmatic injury results when

discriminatory conduct by the state 'stigmatizes a person’ or 'casts a badge of

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inferiority’ on a disfavored group.") (Emphasis added); Baird, 85 F.3d at 454-
55 (race discrimination in public places in any materialization “established
public “badges of inferiority” for the excluded group, marking them as of lower
social status”).

The Thirteenth Amendment has always been held as self-executing,
which means it does not require an act of Congress to be inplemented; hence
§1983 is a proper vehicle to enforce it against a state actor.1° “This Amendment
... is undoubtedly self-executing without any ancillary legislation, so far as its
terms are applicable to any existing state of circumstances.” Slaughter-House
Cases, 83 U.S. at 71-72 (1873); United States v. Stanley, 109 U.S. 20 (1883) (“This
amendment, as well as the Fourteenth, is undoubtedly self-executing without
any ancillary legislation, so far as its terms are applicable to any existing state
of circumstances.”); Memphis v. Greene, 451 U.S. 100, 125 (1981).

Monuments and tributes to the Confederacy stand for the enslavement
and oppression of Black Americans and promote the ideal that Black people are
inferior to White people, i.e. White supremacy. Thusly they are “badges” of
slavery in violation of the 13** Amendment. Cannon, 750 E3d at 501 (5th Cir.

2014) (holding White supremacist symbols amounted to “badges of slavery,’

10 Again in Rule 12(b)(6) dicta, the district court suggests that Congress would need to take some action for anything other than actual
slavery or involuntary servitude to be adjudicable. {D80, p.46].

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violating Thirteenth Amendment); Confederate Monuments as Badges of
Slavery, Loyola University Chicago, School of Law, Tsesis, A, p. 19 (2020)
(“Confederate statues fall in that category [badges of slavery under the 13%
Amendment], whether or not they are war memorials.”). 11

Confederate tributes celebrated on government property impede
Appellant’s “personal autonomy because they place persons, in particular
blacks, on notice that they are outsiders living freely only at the dominant
group's behests. Those symbols laud the works of persons who sought to
maintain a system of involuntary servitude, and therefore they are not heroes
to the progeny of the slaves or others who strive for a fair society.” Thirteenth
Amendment, 21 Harv. C.R.-C.L. L. Rev. 689, 735-36 (1986) (among other things,
arguing that Thirteenth Amendment proscribes racially motivated violence and
such violence impedes freedom). See also Cannon, 750 F.3d at 501.

Based upon the foregoing, the Court should find Appellant sufficiently
pled Article-III “stigmatic injury” standing and a claim under the Thirteenth
Amendment that public Confederate tributes violate his right to be free of the

badges of slavery. Jones, 392 U.S. at 422, 441-442; Elston, 997 F.2d at 1407.

Tas long as Confederate symbols cast a tolerant aura on the Old South's racist past, some badges and incidents of servitude will remain
.. Confederate symbols impede personal autonomy because they place persons, in particular blacks, on notice that they are outsiders living
freely only at the dominant group's behests. Those symbols laud the works of persons who sought to maintain a system of involuntary
servitude, and therefore they are not heroes to the progeny of the slaves or others who strive for a fair society.” Tsesis, Confederate

Monuments as Badges of Slavery, Kentucky Law Journal, Vol. 108, No. 4, 2020.

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5. “Stigmatic Injury” Under Fourteenth Amendment Equal Protection

The Fourteenth Amendment commands Appellees to provide the
members of all races with equal access to the public facilities it owns or
manages, and the right of a citizen to use those facilities without discrimination
on the basis of race is a basic corollary of this command. Brewer v. Hoxie School
District No. 46, etc., 238 F.2d 91 (8th Cir. 1956). “No state shall ... deny to any
person within its jurisdiction the equal protection of the laws.” U.S. Const.
amend. XIV, section 1. “The Equal Protection Clause speaks to the State or to
those acting under the color of its authority.” United States v. Guest, 383 U.S. 745
(1965). The involvement of the State need not be either exclusive or even direct
to create rights under the Equal Protection Clause leading to the constitutional
violation. See, e.g., Shelley v. Kraemer, 334 U.S. 1 (1948); Commonwealth of
Pennsylvania v. Board of Directors of City Trusts of City of Philadelphia, 353 U.S.
230 (1957).

As argued infra, Appellant alleges that encounters with Confederate
symbols in public places serves as a constant reminder of not only a painful
history of racial subjugation, but the current governmental endorsement of
White supremacy, combining to create intangible, but concrete, particularized
“stigmatic injury” under the Fourteenth Amendment Equal Protection claim -

satisfying Article-III standing and the pleading standard.

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b. The District Court Erred in Not Finding Taxpayer Standing

Although taxpayer standing was not needed for the civil rights claims, the
district court nonetheless erred when it found Appellant had no taxpayer
standing. [D80, p.34]. The district court’s ruling indeed countervailed its earlier
determination in another Confederate tribute case - where it found taxpayer
standing for Confederate sympathizers just months prior. See Egerton v. City of
St. Augustine, No. 3:20-cv-941-BJD-PDB, D67, decided March 20, 2023. In
Eagerton, plaintiffs sought to challenge the city’s removal and relocation of a
Confederate monument from a park: There, as at bar, a plaintiff claimed to be a
resident taxpayer, who alleged that expenditures in relation to a Confederate
monument were illegal. The district court however found taxpayer standing for
the Confederate sympathizers in Eagerton and rejected the same standing for
Appellant.

Taxpayer standing is long-lived. Crampton v. Zabriskie, 101 U.S. 601
(1789) (there is “no serious question” regarding “the right of resident
taxpayers to invoke the interposition of a court of equity to prevent an illegal
disposition of the moneys of the county ...”); Pelphrey v. Cobb Cnty., 547 F.3d
1263, 1280 (11 Cir. 2008). In Pelphrey this Court stated: “[t]he standing of
municipal taxpayers to challenge, as unconstitutional, expenditures by local

governments remains settled law.” /d., at 1280.

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While the district court held the declaratory action failed to allege how
public funding was being expended unlawfully, the record suggests otherwise.
Appellant claimed to be a local resident taxpayer and that “[t]he Mayor
continues to maintain public funding for tributes to the Confederacy,
Confederates and White supremacists on public land in Duval County, including
monuments, tributes, streets, roads, and parks ... general budgetary allocations
inuring to the presence, maintenance, preservation and protection of
monuments and/or naming tributes to the Confederacy, Confederates and
White supremacists on public land, within the Middle District of Florida,
through public tax-based funding, under the color of law.” [D63, paras. 18, 20].
Appellant further alleges that such tax funding allocations violate Title II, the
Thirteenth Amendment, and the Fourteenth Amendment. [D63].

In view of the foregoing, Appellant has sufficiently pled taxpayer
standing.

C. Conclusion

Based upon the foregoing, this Court should reverse the judgment of

dismissal, finding Article-III “stigmatic injury” standing and taxpayer standing,

and remand the case for further proceedings.

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ERTIFI RVICE
I hereby certify that on the 12% day of December 2023, I electronically
filed the Plaintiff-Appellant’s Opening Brief with the Clerk of the Court, serving
counsel for the Appellees.

By: £s/ Earl M. Johnson Jr.

Earl M. Johnson, Jr.

Pro Se Appellant

1635 North Liberty Street

No. 3

Jacksonville, FL 32206

(904) 525-2479 Telephone
earlmayberryjohnson@gmail.com

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Dated: December 12, 2023 By: /s/Earl M. Johnson Jr.
Earl M. Johnson, Jr.
Pro Se
1635 North Liberty Street, No. 3
Jacksonville, FL 32206
(904) 525-2479 Telephone
earlmayberryjohnson@gamil.com

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